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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                               11/6/2020
---------------------------------------------------------------X
SISTEM MÜHENDISLIK INSAAT SANAYI                               :
VE TICARET, A.Ş.,                                              :     12-CV-4502 (ALC) (RWL)
                                                               :
                                    Plaintiff,                 :
                                                               :     ORDER
                  - against -                                  :
                                                               :
THE KYRGYZ REPUBLIC,                                           :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

        For the reasons set forth in Plaintiff counsel's letter dated November 6, 2020 (Dkt.

247), the Court authorizes Plaintiff to serve papers directly upon the Republic until such

time as defense counsel of record, Grant McCrea, confirms his continued representation

of the Republic or the Republic appears through new counsel.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: November 6, 2020
       New York, New York
